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IN THE UNITED STATES DISTRICT COURT FOR THE
CLERK’S OFFICE U.S. DIST. COURT

WESTERN DISTRICT OF VIRGINIA ee
Charlottesville Division OCT 94 2021
Elizabeth Sines, et al [ JULIA BUA ENO)
BY: LU LON Y/
Plaintiffs [ poe
[
Vv t Case No: 3:17-cv-072-NKM
Jason Kessler, et al [
[
Defendants k

OBJECTION TO PLAINTIFF'S EXHIBIT LIST

Comes Now the Defendant, Christopher Cantwell, and, he makes the follow-
ing Objection to the Plaintiff's Exhibit List and the introduction of

their exhibits at trial:

1) The Court ordered the parties to exchange xhibit lists by September

14, 2021.

2) I, Christopher Cantwell, do herbey aver under penalty of perjury
this 4th day of October, 2021, that as of this morning at 9:00 AM

Plaintiffs have not provided me with an exhibit list.

3) Because Plaintiffs have not disclosed to Cantwell the exhibtis that
they intend to introduce at trial pursuant to Fed.R.Civ.P. 26(a),
Cantwell asks that all of their exhibits be excluded from trial

pursuant to Fed.R.Civ.P. 37(c)(1).

Respectfully Submitted,

Christopher Cantwell
USP-Marion
PO Box 1000

Marion, IL 62959
Case 3:17-cv-00072-NKM-JCH Document 1159 Filed 10/04/21 Page 2of2 Pageid#: 19875
CERTIFICATE OF SERVICE

I hereby certify that this Objection was mailed to the Clerk of the
Court, ist Class postage prepaid, for posting upon the ECF to which all
other parties are subscribed, and, handed to USP-Marion staff members

Nathan Simpkins and/or Kathy Hill for electronic transfer to the Court,

| Mhuire

Christopher Cantwell

this 4th day of October, 2021.
